         1:17-cv-01201-SEM-TSH # 58           Page 1 of 3                                            E-FILED
                                                                         Friday, 29 June, 2018 02:23:59 PM
                                                                              Clerk, U.S. District Court, ILCD

                            UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS

Curtis Lovelace, Logan Lovelace, Lincoln
Lovelace & Christine Lovelace on behalf of her
minor son Larson Lovelace,

                       Plaintiffs,
         v.                                          Case No. 17 CV 01201

Det. Adam Gibson, Police Chief Robert Copley,        The Honorable Judge Sue E. Myerscough
Sgt. John Summers, Lt. Dina Dreyer,
Det. Anjanette Biswell, Unknown Quincy Police        Magistrate
Officers, Gary Farha, Coroner James Keller,          Hon. Judge Thomas Schanzle-Haskins
The City of Quincy, and County of Adams,


                       Defendants.

              JOINT MOTION TO EXTEND FACT DISCOVERY DEADLINE

         The parties, through their respective counsel, move this Honorable Court to extend the

discovery deadline. In support, they state as follows:

         1.     Plaintiffs filed their Complaint on May 8, 2017, alleging that Curtis Lovelace was

wrongfully prosecuted for the murder of his wife.

         2.     The parties filed a Joint Proposed Scheduling Order on August 14, 2017, agreeing

to a fact disclosure deadline of August 1, 2018.

         3.     The parties met and conferred on June 29, 2018, to discuss the scheduling of

depositions of party witnesses. Nine party depositions are set to proceed within the next three

weeks.

         4.     Due to the various trial schedules of all counsel, the remaining fact witness

depositions will not be completed by August 1, 2018.

         5.     The parties have agreed to an extension of time up to, and including, October 1,

2018, to complete fact discovery.
       1:17-cv-01201-SEM-TSH # 58             Page 2 of 3



       6.      This Motion is brought in good faith and not for dilatory purposes or for delay,

but only to allow all parties to obtain all necessary information to complete fact discovery.

       7.      The Parties request that this court grant their Motion for Extension of Time to

complete fact discovery until October 1, 2018,

       WHEREFORE, Plaintiffs and Defendants request this Honorable Court to grant them

until October 1, 2018 to complete fact discovery.


                                              Respectfully submitted,

                                              /s/ Justin DeLuca
                                              Justin DeLuca
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          1:17-cv-01201-SEM-TSH # 58           Page 3 of 3



                                  CERTIFICATE OF SERVICE

          The undersigned, one of the attorneys of record herein, hereby certifies that on June 29,

2018, the foregoing JOINT MOTION TO EXTEND FACT DISCOVERY DEADLINE was

electronically filed with the Clerk of the U.S. District Court for the Central District of Illinois

using the CM/ECF System, which will send notification of such filing to the following:

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                                              /s/ Justin DeLuca
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                                              One of the attorneys for Defendants
                                              Adam Gibson, Robert Copley, John Summers,
                                              Dina Dreyer, Anjanette Biswell and
                                              the City of Quincy

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